

Matter of Tyrese M.M. (Cassie M.) (2019 NY Slip Op 01002)





Matter of Tyrese M.M. (Cassie M.)


2019 NY Slip Op 01002


Decided on February 8, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 8, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, PERADOTTO, DEJOSEPH, AND WINSLOW, JJ.


55 CAF 18-00180

[*1]IN THE MATTER OF TYRESE M.M. NIAGARA COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; CASSIE M., RESPONDENT-APPELLANT. (APPEAL NO. 3.)






KATHLEEN KUGLER, CONFLICT DEFENDER, LOCKPORT (JESSICA J. BURGASSER OF COUNSEL), FOR RESPONDENT-APPELLANT.
MATTHEW E. BROOKS, LOCKPORT, FOR PETITIONER-RESPONDENT.
DEBORAH J. SCINTA, ORCHARD PARK, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Niagara County (Kathleen Wojtaszek-Gariano, J.), entered January 9, 2018 in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, terminated respondent's parental rights with respect to the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Dominic T.M. ([appeal No. 1] — AD3d — [Feb. 8, 2019] [4th Dept 2019]).
Entered: February 8, 2019
Mark W. Bennett
Clerk of the Court








